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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

                                                    §
   In re:                                           §       Chapter 7
                                                    §
   ASTRALABS, INC.                                  §       Case No. 23-10164-SMR
     Debtor                                         §
                                                    §

     OBJECTION TO APPLICATION TO EMPLOY GAMMA CONSULTING, LLC
   TO PROVIDE TRANSITION CONSULTING SERVICES TO AND FOR THE ESTATE

            COME NOW Thomas Dolezal, Matthew Kelly, Hasan Ugur Koyluoglu and Casey Melcher

     and file this Objection to Application to Employ Gamma Consulting, LLC to Provide

     Transition Consulting Services to the Estate and would show as follows:

            1.    The Trustee has requested permission to employ Gamma Consulting, LLC to

  Provide Transition Consulting Services to the and for the Estate. The principal of Gamma

  Consulting, LLC is Kerstin Hadzik. Ms. Hadzik served as interim CFO of the Debtor for

  approximately nineteen (19) days before the case was converted.

            2.    The Objecting Parties object to Gamma’s employment on the following grounds:

                  (a) Gamma Consulting may not be disinterested;

                  (b) Gamma Consulting may not be qualified;

                  (c) The rate to be charged by Gamma Consulting is excessive; and

                  (d) The employment may not be necessary.

            3.    Ms. Hadzik was employed as interim chief financial officer and paid a retainer of

  $10,000. No application was filed to employ Ms. Hadzik and she has not filed a fee application.

  According to Ms. Hadzik, Gamma is a “turnaround consulting firm specializing in providing
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  outsourced chief financial officer services.” This would appear to be a professional requiring court

  approval, a point that is reinforced by the fact that the Trustee seeks to employ Ms. Hadzik’s firm

  as a professional. The Trustee has a colorable claim to recover the $10,000 paid to Ms. Hadzik as

  an unauthorized post-petition transfer pursuant to 11 U.S.C. §549. As a result, she is not

  disinterested.

          4.       Additionally, based on information and belief, the Debtor’s management

  fragmented into factions during the final weeks of the Chapter 11 case. Upon information and

  belief, Ms. Hadzik sided with the Joe Merrill faction against the Andrew Ryan faction. Upon

  further information and belief, Ms. Hadzik has continued to communicate with the Merrill faction

  since conversion and has divided loyalties.1

          5.       Paragraphs 21 and 22 of the Declaration of Kerstin Hadzik state that because of

  Gamma’s extensive business operations it might be doing business with some of the creditors and

  parties in interest without being aware. This seems like an oddly hedged disclosure for a small firm

  that was formed in 2022.2

          6.       Gamma may lack the necessary qualifications to serve a consultant. According to

  the Utah Secretary of State, Gamma’s corporate status is “delinquent” due to “failure to file

  renewal” as shown by Exhibit A. Ms. Hadzik states that she holds a Bachelor of Science Degree

  from Utah State University. When Utah State University was asked to confirm this degree, it stated

  that “Kerstin Topham has not earned any degrees from Utah State University” as shown by Exhibit




  1
    Objectors’ information and belief is based on statements made by Andrew Ryan. While Mr. Ryan has been criticized
  by this Court and others, the seriousness of the allegation requires further scrutiny before Ms. Hadzik’s firm is
  employed as an estate professional.
  2
    In fairness, this language was probably copied from the Declaration submitted by Reid, Collins & Tsai. However,
  the fact that it was submitted under penalty of perjury shows a lack of care.

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  B. Assuming that Kerstin Topham is the same person as Kerstin Hadzik, this raises a question

  about her professional qualifications.

         7.      Gamma Consulting seeks to be employed at a rate of up to $250.00 per hour. See

  Services Agreement. This rate appears excessive. The Services Agreement also appears to reduce

  the period for interim fee applications from 120 days to 30 days.

         8.      Finally it is not clear that Gamma’s services are required. Upon information and

  belief, Mr. Nihar Patel has offered to provide similar services to the Trustee without charge.

                                               Respectfully submitted,

                                               BARRON & NEWBURGER PC
                                               7320 N. MoPac Expressway, Ste. 400
                                               Austin, Texas 78731
                                               Telephone: (512) 649-3243

                                               By /s/ Stephen Sather
                                                Stephen Sather
                                                State Bar No 17657520
                                                ATTORNEY FOR OBJECTING PARTIES




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                                    CERTIFICATE OF SERVICE

           I certify that a copy of the foregoing was served by electronic mail transmission or first
  class mail to the following parties by on July 21, 2023:

  Kerstin Hadzik
  Gamma Consulting, LLC
  By email: Kerstin.hadzik@outlook.com

  Cleveland R Burke
  Holland & Knight
  100 Congress Avenue
  Ste 1800
  Austin, TX 78701
  cleveland.burke@hklaw.com
  representing Capitol Vending and Coffee Company

  Lisa C. Fancher
  Fritz Byrne, PLLC
  221 W 6th St
  Ste 960
  Austin, TX 78701
  lfancher@fritzbyrne.law
  representing 3423 Holdings

  Shanna M Kaminski
  Kaminski Law, PLLC
  P.O. Box 247
  Grass Lake, MI 49240
  skaminski@kaminskilawpllc.com
  representing Apex Funding Source, LLC

  Robert Chamless Lane
  The Lane Law Firm, PLLC
  6200 Savoy Dr, Suite 1150
  Houston, TX 77036
  chip.lane@lanelaw.com
  representing ASTRALABS Inc

  Ryan Lott
  The Lott Firm, PLLC
  501 Congress Avenue, Suite 150
  Austin, TX 78701
  512-809-6951
  thelottfirm@gmail.com
  representing Athletes to Athletes, Inc.

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  Paul David Moak
  Reed Smith
  1221 McKinney Street
  Suite 2100
  Houston, TX 77010
  pmoak@reedsmith.com
  representing AFCO Credit Corporation

  Jay Ong
  Munsch Hardt Kopf & Harr, P.C.
  1717 West 6th Street
  Suite 250
  Austin, TX 78703
  jong@munsch.com
  representing Randolph N Osherow

  Randolph Osherow
  342 W Woodlawn, Suite 100
  San Antonio, TX 78212
  (210) 738-3001
  rosherow@hotmail.com
  (Trustee)

  Ron Satija
  Hayward PLLC
  7600 Burnet Road, Suite 530
  Austin, TX 78757
  rsatija@haywardfirm.com
  representing Andrew Ryan

  John Mark Stern
  Texas Attorney General's Office
  P. O. Box 12548
  Austin, TX 78711-2548
  bk-jstern@oag.texas.gov
  Texas Comptroller of Public Accounts, Revenue Accounting Division

  Eric Terry
  Eric Terry Law, PLLC
  3511 Broadway
  San Antonio, TX 78209
  eric@ericterrylaw.com
  representing Eric Terry

  Shane P. Tobin


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  903 San Jacinto Blvd.
  Room 230
  Austin, TX 78701
  shane.p.tobin@usdoj.gov
  representing United States Trustee - AU12


                                              /s/Stephen W. Sather
                                              Stephen W. Sather




                                                6
Entity Details: GAMMA CONSULTING LLC - Utah Business Search -...         https://secure.utah.gov/bes/displayDetails.html
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                                                    Exhibit A




          GAMMA CONSULTING LLC

          Entity Number: 12709758-0160
          Company Type: LLC - Domestic
          Address: 8182 N Round Rock Road Lake Point, UT 84074
          State of Origin:
          Registered Agent: Kerstin Hadzik
          Registered Agent Address:
          8182 N Round Rock Road
          Lake Point, UT 84074

          Status: Delinquent

          Status: Delinquent     as of 03/13/2023
          Status Description: Failure to File Renewal
          Employment Verification: Not Registered with Verify Utah

          History

          Registration Date: 02/16/2022
          Last Renewed: N/A

          << Back to Search Results




                    Business Name:




                                                                                                           Give Feedback




1 of 1                                                                                            7/20/2023, 12:11 PM
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                                   Exhibit B  9

Steve Sather

From:                            Andrew Ryan <> Monday, July 17, 2023
Sent:                            3:06 PM
To:                              Ron Satija; Steve Sather
Subject:                         Fwd: Request Verification #AXXXXXXXX




Sent from my iPhone

Begin forwarded message:

       From: Registrar Verifications <verifications@usu.edu>
       Date: July 17, 2023 at 2:56:25 PM CDT
       To: andrew.ryan@ncastra.com
       Subject: FW: Request Verification #AXXXXXXXX


       Kerstin Topham has not earned any degrees from Utah State University. If you have any questions you
       are welcome to reach out to our office at 4 35-797-1116.

       Thank you,




       Holly Wirth
       Student Services Coord II
       Registrar's Office - Records and Graduation
       Office: (435) 797-1116 I Fax: (435) 797-1110

       From: Registrar <registrar@usu.edu>
       Sent: Friday, July 14, 2023 9:57 AM
       To: Registrar Verifications <verifications@usu.edu>
       Subject: Fw: Request Verification #AXXXXXXXX




           □
             .        Utah State University
                      Registrar's Office
                      reqistrar@usu.edu

                      1600 Old Main Hill I TSC 246
                      Logan, UT 84322-1600
                      United States
                      Chat with Big Blue!


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